       Case 3:08-cv-00813-MJR-DGW Document 29 Filed 04/13/09 Page 1 of 1 Page ID #100
OAO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                    SOUTHERN                               DISTRICT OF                     ILLINOIS


                    Kenneth L. Shinn,
                       Plaintiff,
                                                                            JUDGMENT IN A CIVIL CASE

                           V.
            United States Steel Corporation,                                Case Number:    08-cv-0813-MJR
                      Defendant.



G Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
   rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and
   a decision has been rendered.

   IT IS ORDERED AND ADJUDGED

       This cause of action is dismissed with prejudice.




        April 13, 2009                                              JUSTINE FLANAGAN, Acting
Date                                                                Clerk



                                                                    s/Annie McGraw
                                                                    (By) Deputy Clerk
